Case 5:20-cr-00040-JA-PRL Document 94 Filed 02/01/21 Page 1 of 3 PageID 256


                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        OCALA DIVISION

    UNITED STATES OF AMERICA                                CASE NO.: 5:20-CR-40-JA-PRL


    V.

    JOSEPH CATALANO,
    ___________________________________/

    MOTION FOR PERMISSION TO WEAR CIVILIAN CLOTHES AT SENTENCING AND
    MOTION FOR RELEASE FROM CUSTODY BEFORE SENTENCING HEARING
                 BASED UPON A CHANGE IN CIRCUMSTANCES

           COMES NOW the Defendant, by and through undersigned counsel, hereby moves this
    Honorable Court to enter an order allowing the Defendant to wear civilian clothes and a release
    from custody, and alleges:


    1.     That the sentencing hearing in this matter is set for February 19, 2021, in this Honorable

           Court.

    2.     That the Defendant is currently in custody in the Marion County jail since January 7, 2021,

           for testing positive for illegal drugs while on pretrial supervision.

    3.     The Defendant is requesting he be allowed to wear civilian clothes at his sentencing so he

           can present himself to the court in his best way possible.

    4.     The Defendant is requesting an order allowing him be released from custody on February 8,

           2021 based upon the following reasons:

                    A)     The Defendant has a long term cardiac condition and sees a cardiologist on a

                           regular basis and needs to meet with his doctor.

                    B)     The prescription medicine he requires is not being properly given to

                           him at the jail.
Case 5:20-cr-00040-JA-PRL Document 94 Filed 02/01/21 Page 2 of 3 PageID 257




                   C)     The Defendants blood pressure is being monitored daily and has been

                          consistently high, according to the Defendant.

                   D)     The Defendant has advised counsel he has a bulging disc in his back for

                          which he needs to see a doctor.

                   E)     The Defendant is requesting the release in order to make arrangements for a

                          residential drug program to be able to present the plan to the Honorable

                          Court at sentencing.

                   F)     That there is a Covid-19 breakout in the Marion County jail and the

                          Defendant believes he has contracted the disease. The Defendant has not

                          been given a Covil-19 test.

    5.     The United States Attorney objects to this motion.

    6.     That the defense was made aware of the death of an inmate in jail, from the same medical

           dorm that the Defendant is being housed in. The death of the inmate was allegedly caused

           by Covid-19 virus. The Defendant has ongoing cardiac illness and in a class of people that

           are in more potential danger, then a well non-sick inmate would be.

                                  MEMORANDUM OF LAW


           The Honorable Court has the authority to remand a Defendant to custody for a violation of
    pretrial release conditions. The Honorable court also has the authority to release a Defendant from
    custody upon reasons of good cause. That the medical issues with the Defendants health are a
    change in his circumstances from when he was remanded to custody, and the Defendant believes he
    has the Coved-19 virus.
Case 5:20-cr-00040-JA-PRL Document 94 Filed 02/01/21 Page 3 of 3 PageID 258




            WHEREFORE, the Defendant hereby moves this Honorable Court to enter an order
            allowing civilian clothes and/or a release from custody on February 8, 2021.


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                                       CERTIFICATE OF SERVICE
            I HEREBY CERTIFY that on February 1, 2021, I electronically filed the foregoing with
    the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to
    the following: United States Attorney, further certify that I mailed the foregoing document and the
    notice of electronic filing by first-class mail to the following: none.




                                                         /s/ Michael W. Nielsen, Esquire
                                                         _____________________________
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